                            Case 18-15891-LMI               Doc 58       Filed 07/29/18          Page 1 of 2
                                               United States Bankruptcy Court
                                               Southern District of Florida
In re:                                                                                                     Case No. 18-15891-LMI
Maurice Symonette                                                                                          Chapter 7
         Debtor
                                                 CERTIFICATE OF NOTICE
District/off: 113C-1                  User: cgrimm                       Page 1 of 1                          Date Rcvd: Jul 27, 2018
                                      Form ID: pdf004                    Total Noticed: 1


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on
Jul 29, 2018.
db             +Maurice Symonette,   14100 NW 14 AVE,   Miami, FL 33167-1203

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
NONE.                                                                                       TOTAL: 0

              ***** BYPASSED RECIPIENTS *****
NONE.                                                                                                               TOTAL: 0

Addresses marked ’+’ were corrected by inserting the ZIP or replacing an incorrect ZIP.
USPS regulations require that automation-compatible mail display the correct ZIP.

Transmission times for electronic delivery are Eastern Time zone.


I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities in the manner
shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and belief.
Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social
Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required
by the bankruptcy rules and the Judiciary’s privacy policies.
Date: Jul 29, 2018                                            Signature: /s/Joseph Speetjens

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                                      CM/ECF NOTICE OF ELECTRONIC FILING

The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system on July 27, 2018 at the address(es) listed below:
              Jeffrey S Fraser   on behalf of Creditor   HSBC Bank USA, National Association as Trustee for
               Nomura Home Equity Loan, Inc., AssetBacked Certificates, Series 2007-1 bkfl@albertellilaw.com,
               anhsalaw@infoex.com
              Joel L Tabas   JLT@tfsmlaw.com,
               kborrego@tabassoloff.com;jtabas@ecf.epiqsystems.com;jcepero@tabassoloff.com;lshortino@tabassoloff
               .com
              Office of the US Trustee   USTPRegion21.MM.ECF@usdoj.gov
                                                                                            TOTAL: 3
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      ORDERED in the Southern District of Florida on July 27, 2018.




                                                                Laurel M. Isicoff
                                                                Chief United States Bankruptcy Judge




_____________________________________________________________________________
                                      UNITED STATES BANKRUPTCY COURT
                                       SOUTHERN DISTRICT OF FLORIDA

       In re:                                                        Case No. 18-15891-BKC-LMI

       MAURICE SYMONETTE,                                            Chapter 7

                  Debtor.
       ________________________________/

           ORDER DENYING DEBTOR’S MOTION FOR CONTINUANCE OF HEARING

                THIS CAUSE came before the Court upon the Emergency Motion to Continue Hearing
      (ECF #56) filed on July 26, 2018 by Debtor, Maurice Symonette. The Court has reviewed the
      Motion and all relevant matters. It is
                ORDERED AND ADJUDGED:
                1.       The Motion for Continuance of the Hearing is DENIED.
                2.       The Court had already continued the hearing because the Debtor was going to be
      out of town for work. The Debtor does not have to be absent from the jurisdiction on July 31,
      2018 and therefore must appear.
                                                                 ###

      Copies furnished to:
      Maurice Symonette, pro se Debtor

                The Clerk shall serve a copy of this order upon all parties in interest.
